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                                UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF PENNSYLVANIA


NATIONAL EMPLOYEES HEALTH PLAN,
individually and on behalf of all others
similarly situated,

        Plaintiff,                                    Case No. 17-cv-04326

                        vs.                           The Honorable J. Curtis Joyner

JOHNSON & JOHNSON and JANSSEN
BIOTECH, INC.,

        Defendants.


UFCW LOCAL 1500 WELFARE FUND, on
behalf of itself and all others similarly situated,

        Plaintiff,                                    Case No. 17-cv-04830

                        vs.                           The Honorable J. Curtis Joyner

JOHNSON & JOHNSON and JANSSEN
BIOTECH, INC.,

        Defendants.



CITY OF PROVIDENCE, individually and on
behalf of all others similarly situated,

        Plaintiff,                                    Case No. 17-cv-05058

                        vs.                           The Honorable J. Curtis Joyner

JOHNSON & JOHNSON and JANSSEN
BIOTECH, INC.,

        Defendants.
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   JOINT STIPULATION AND [PROPOSED] ORDER REGARDING SERVICE,
CONSOLIDATION, APPOINTMENT OF INTERIM CLASS COUNSEL, AND TIME TO
              ANSWER, MOVE, OR OTHERWISE RESPOND

       WHEREAS, on September 20, 2017, Pfizer Inc. filed suit on behalf of itself against

Johnson & Johnson and Janssen Biotech, Inc. (“Defendants”), Pfizer Inc. v. Johnson & Johnson,

et al., case no. 17-cv-04180 (“Pfizer Action”). The case was assigned to this Court before the

Honorable J. Curtis Joyner.

       WHEREAS, on September 29, 2017, National Employees Health Plan filed a class action

complaint against Defendants based on similar facts as the Pfizer Action, National Employees

Health Plan v. Johnson & Johnson, et al., case no. 17-cv-04326 (the “National Employees

Health Plan Action”). This Action was filed in this District, related to the Pfizer Action, and

assigned to this Court.

       WHEREAS, on October 27, 2017, UFCW Local 1500 Welfare Fund filed a class action

complaint based on similar facts as the Pfizer Action, UFCW Local 1500 Welfare Fund v.

Johnson & Johnson, et al., case no. 17-cv-04830 (the “Local 1500 Action”). This Action was

filed in this District, related to the Pfizer and National Employees Health Plan Actions, and

assigned to this Court.

       WHEREAS, on November 9, 2017, City of Providence filed a class action complaint

based on similar facts as the Pfizer Action, City of Providence v. Johnson & Johnson, et al., case

no. 17-cv-05058 (the “City of Providence Action”). This Action was filed in this District, related

to the National Employees Health Plan and Local 1500 Actions, and assigned to this Court.

       WHEREAS, the National Employees Health Plan Action, the Local 1500 Action, and the

City of Providence Action are collectively referred to as the “Remicade Class Actions.”




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        WHEREAS, on October 17, 2017, the Court extended the time for Defendants in the

National Employees Health Plan Action to answer, move, or otherwise respond to the complaint

to November 28, 2017. There have been no prior requests in the Local 1500 and the City of

Providence Actions to extend any deadlines.

        WHEREAS, the date to answer, move, or otherwise respond to the Local 1500 Action is

November 24, 2017, and the date to answer, move, or otherwise respond to the City of

Providence Action is no later than December 15, 2017.

        WHEREAS, the Parties believe that organizing and consolidating the Remicade Class

Actions will promote efficiency in managing and litigating the cases.



        ACCORDINGLY, pursuant to Local Rule 7.4, the undersigned parties hereby stipulate,

and the Court orders, as follows:

        1.      Defendants agree that they have been properly served with Plaintiffs’ Summonses

and Complaints in the Remicade Class Actions or that they waive service of process under Rule

4(d) of the Federal Rules of Civil Procedure. Defendants agree to accept service of a

Consolidated Amended Complaint. Defendants otherwise expressly reserve the right to

challenge the Remicade Class Action complaints and any Consolidated Amended Complaint on

any and all grounds, including personal jurisdiction.

        2.      Defendants’ deadlines to answer, move, or otherwise respond to the complaints in

each of the Remicade Class Actions, to the extent that such deadlines presently exist, are stayed

as provided in this Stipulation. The stay shall be without prejudice to any party’s right to seek

relief from the stay.




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       3.      The individual cases comprising the Remicade Class Actions are consolidated

under docket number 17-cv-04326 and captioned as “In re Remicade Antitrust Litigation.”

       4.      Any additional class action complaints filed in this district containing

substantially similar allegations as those in, and related to, In re Remicade Antitrust Litigation

and accepted by the Court as such (a “Subsequent Action”) shall also be consolidated under

docket number 17-cv-04326. Plaintiffs in In re Remicade Antitrust Litigation shall serve written

notice of such consolidation on the plaintiff(s) in the Subsequent Action and on any defendant in

such Action who is not a party in In re Remicade Antitrust Litigation, and any party in the

Subsequent Action shall have ten (10) days from the date that notice is served to file a motion

with the Court objecting to such consolidation and setting forth the basis for objection.

       5.      The following schedule shall apply to the Remicade Class Actions:

               a.      Organization of Counsel: On December 12, 2017, all Plaintiffs’ counsel in

the Remicade Class Actions seeking appointment as interim class counsel under Rule 23(g) of

the Federal Rules of Civil Procedure shall file an application with the Court. These applications

shall address each of the Rule 23(g) factors, to the extent they are applicable. The applications

shall be limited to ten (10) pages double spaced. Responses to these applications shall be due on

December 19, 2017 and shall be limited to five (5) pages double spaced. If Plaintiffs’ counsel

have agreed on a proposed leadership structure, they will move the Court for approval of the

proposed structure on or before December 12, 2017.

               b.      Consolidated Amended Complaint: Plaintiffs shall file a Consolidated

Amended Complaint (“CAC”) 30 days following the Court’s appointment of interim class

counsel.




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               c.     Response to CAC: Defendants shall, as permitted by Federal Rule of

Civil Procedure 12, answer, move, or otherwise plead in response to the CAC 45 days after the

CAC is filed in In re Remicade Antitrust Litigation. Plaintiffs in In re Remicade Antitrust

Litigation shall have 45 days from the filing and service of any motions to file and serve any

memoranda in opposition thereto. Any reply memoranda shall be filed 30 days after service and

filing of any opposition memoranda. If a filing deadline falls on a weekend or federal holiday,

the memorandum shall be filed on the first business day following such weekend or holiday.



IT IS SO STIPULATED AND ORDERED.

DATED: November 21, 2017

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                                    APPROVED BY THE COURT:



DATED:    November 21, 2017         s / J. Curtis Joyner
                                    HON. J. CURTIS JOYNER
                                    UNITED STATES DISTRICT JUDGE




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